                 IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                          WESTERN DIVISION
                            No. 5:17-CR-174-D      FILED IN OPEN COURT
                                                               ON       /I l 201
                                                                    Peter A. Moore, Jr. C
                                                                    US District Court
UNITED STATES OF AMERICA             )                              Eastern District of N
                                     )
            vs.                      )                   ORDER
                                     )
HOWARD DAVIS,                        )
                                     )
            Defendant.               )

      IT IS HEREBY ORDERED that the following Government Exhibits be returned to_
  Special Agent Stephen Babits and remain in his or her custody through the time of
sentencing and any proceeding on appeal or review.

EXHIBIT#          EXHIBIT DESCRIPTION
 13          Powder Cocaine
 14          Crack Cocaine
 15          Digital Scale & Rubber Bands
 20          Small Digital Scale
 25          Firearm
 26          Magazine & Ammunition


SO ORDERED. This 11th day of September 2018.




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                                            J~ S C. DEVER III
                                            Chief United States District Judge
